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                                  UNITED STATES DISTRICT COURT
                                    NORTHERN DISTRICT OF TEXAS
                                          FORT WORTH DIVISION
-------------------------------------------------------------x
                                                             :
EXXON MOBIL CORPORATION,                                     :
                                                             :
                                      Plaintiff,             :
                                                             : No. 4:16-cv-469-K
                  - v. -                                     :
                                                             :
MAURA TRACY HEALEY, Attorney General :
of Massachusetts, in her official capacity,                  :
                                                             :
                                     Defendant.              :
                                                             :
-------------------------------------------------------------x
               PROPOSED AMICI STATES’ MOTION FOR LEAVE TO FILE A
           MEMORNADUM OF LAW IN SUPPORT OF DEFENDANT’S MOTION
          TO DISMISS AND IN OPPOSITION TO PLAINTIFF’S MOTION FOR A
                                      PRELIMINARY INJUNCTION

       Pursuant to Local Rules 7.1 and 7.2, and this Court’s inherent authority, the States of

Maryland, New York, Illinois, Iowa, Maine, Minnesota, Mississippi, New Mexico, Oregon,

Rhode Island, Vermont, Washington, and the District of Columbia and U.S. Virgin Islands

(“proposed amici States”) respectfully move this Court for leave to file a Memorandum of Law

in Support of Defendant’s Motion To Dismiss and in Opposition to Plaintiff’s Motion for a

Preliminary Injunction, which is being filed contemporaneously with this motion and in support

of this motion.

                          INTERESTS OF PROPOSED AMICI CURIAE

       As set forth in the memorandum of law supporting this motion, the proposed amici States

have strong interests in the outcome of this litigation. The proposed amici States have a

compelling interest in preserving the traditional authority of their Attorneys General to

investigate and combat violations of state law—including the authority to issue civil

administrative subpoenas, which are often called civil investigative demands (CIDs). And the
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proposed amici States also have a keen interest in safeguarding the established role of their state

courts as the proper forum for adjudicating objections to a CID issued by a State’s Attorney

General pursuant to that State’s laws.

       Exxon Mobil Corporation (Exxon) seeks a federal injunction and declaratory judgment

prohibiting the Massachusetts Attorney General from seeking to enforce a CID issued to Exxon

pursuant to Massachusetts law, even though the Massachusetts state courts have not yet

completed their review of the CID’s propriety in a contemporaneous state court proceeding. But

allowing the recipient of a state Attorney General’s CID to challenge the CID through a federal

lawsuit rather than through an available and adequate proceeding in the courts of the Attorney

General’s State would undermine the States’ sovereign interests in ensuring that their state courts

review the propriety of CIDs issued under their state laws. And permitting federal lawsuits such

as Exxon’s lawsuit here would also undermine the States’ ability to investigate and halt

misconduct that harms the citizens of their State.

       The proposed amici States accordingly seek to file this brief to protect our sovereign

interests and preserve the roles of our Attorneys General and courts in this nation’s system of

dual sovereignty. In our brief, we provide the Court with useful information about the traditional

investigatory powers of state Attorneys General and existing state procedures that provide CID

recipients with a full and fair opportunity to challenge state-issued CIDs in state court. We also

demonstrate that governing precedents—and the federalism and comity concerns that underpin

those cases—bar a recipient of a state Attorney General’s CID from bringing an unnecessary

federal lawsuit to challenge the CID rather than utilizing a comprehensive state court process for

objecting to the CID.




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                                      CONCLUSION

       Local Rule 7.2(b) permits an amici curiae brief to be filed with leave of the judge

presiding over the litigation. For the reasons stated above and in the supporting memorandum of

law, proposed amici States believe that their brief will offer an important perspective on the

issues presented in this litigation and help the Court resolve those issues. We therefore

respectfully seek leave to file the supporting memorandum of law.



Dated: Baltimore, Maryland
       August 8, 2016

                                               Respectfully submitted,

ERIC T. SCHNEIDERMAN                           BRIAN E. FROSH
  Attorney General                              Attorney General
  State of New York                             State of Maryland
BARBARA D. UNDERWOOD
   Solicitor General                           /s/ Thiruvendran Vignarajah
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                    CERTIFICATE OF CONFERENCE (Local Rule 7.1)

       Thiru Vignarajah, counsel for movant the State of Maryland, conferred via telephone on

August 5, 2016, with Daniel Toal, counsel for plaintiff Exxon Mobil Corporation. On August 6,

2016, Thiru Vignarajah received an e-mail from Michele Hirshman, counsel for plaintiff Exxon

Mobil Corporation, stating that plaintiff opposes this motion.

       Judith Vale, counsel for movant the State of New York, conferred via telephone on

August 4, 2016, with Assistant Attorney General Christophe Courchesne, counsel for defendant

Massachusetts Attorney General Maura Healey, and received confirmation on that date that

defendant consents to this motion.




                                                 Respectfully submitted,

ERIC T. SCHNEIDERMAN                             BRIAN E. FROSH
  Attorney General                                Attorney General
  State of New York                               State of Maryland
BARBARA D. UNDERWOOD
   Solicitor General                             /s/ Thiruvendran Vignarajah
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                               CERTIFICATE OF SERVICE

       I hereby certify that on this 8th day of August, 2016, I caused the foregoing Proposed

Amici States’ Motion for Leave To File a Memorandum of Law in Support of Defendant’s

Motion To Dismiss and in Opposition to Plaintiff’s Motion for a Preliminary Injunction to be

served on all parties via the Court’s CM/ECF system.



                                                  /s/ Thiruvendran Vignarajah
                                                  Thiruvendran Vignarajah




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